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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

ADAM WHITMAN,

      Plaintiff,

v.                                                  Case No. 3:21cv756-TKW-EMT

LAW OFFICES OF ADAM J.
KATZ, PA,

     Defendant.
___________________________/

                                       ORDER

      Based on Plaintiff’s notice of settlement (Doc. 4), it is ORDERED that the

parties shall file a status report 60 days from the date of this Order (and every 30

days thereafter) if a notice or stipulation of dismissal is not filed by then.

      DONE and ORDERED this 28th day of May, 2021.

                                         T. Kent Wetherell, II
                                         T. KENT WETHERELL, II
                                         UNITED STATES DISTRICT JUDGE
